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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
  Case No. 1:23-cv-01149-NYW-KAS

  JACOB LEVY,

          Plaintiff and Counterclaim Defendant,
  v.

  HOLLY SHUSTER,

        Defendant and Counterclaim Plaintiff.
  ______________________________________________________________________

  DEFENDANT’S EMERGENCY UNOPPOSED MOTION TO STAY AND RECONSIDER
     LIMITED PORTION OF OMNIBUS ORDER ON MOTIONS TO RESTRICT [156]
  ______________________________________________________________________

         Defendant and Counterclaim Plaintiff Holly Shuster (“Ms. Shuster”), by and

  through her undersigned counsel, respectfully moves for a limited stay and partial

  reconsideration of the Omnibus Order on Motions to Restrict [Doc. 156, issued July 29,

  2024] (“Omnibus Order”), to the extent that it lifts the current Level 1 restriction of specific

  exhibits to Mr. Levy’s Motion to Compel [Doc. 107-1].

                                            Conferral

         Undersigned counsel has conferred with Plaintiff’s counsel concerning this Motion,

  who has advised that Mr. Levy will not oppose the requested stay to permit consideration

  of the appropriate restrictions of the exhibits accompanying his Motion to Compel.

                                           Discussion

         Ms. Shuster seeks a temporary stay and reconsideration of only one limited aspect

  of the Court’s Omnibus Order issued earlier today: The Court’s ruling to “lift restriction

  on Exhibits 1-49” to Mr. Levy’s Motion to Compel Discovery. [Doc. 156 at 4.]
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         As the basis for that ruling, the Court noted that “although Plaintiff filed as restricted

  47 exhibits to his Motion to Compel, he has not asked to restrict any of those exhibits.”

  [Id. at 3] (citation omitted). In issuing the Order, however, the Court apparently did not

  consider Ms. Shuster’s separate request to restrict several of those exhibits, which

  include, among other sensitive documents, entire, unredacted sets of her personal

  medical and psychotherapy records, her deposition testimony discussing those records

  and unrelated trauma, and the unredacted report of her forensic psychologist, Donna

  Peters. See [Doc. 111]. The materials at issue include several exhibits and documents

  that contain information that this Court has now specifically found warrant protection and

  should be maintained under Level 1 restriction. See [Doc. 156 at 10].

         Ms. Shuster made her request to treat these materials as subject to a Level 1

  restriction in her Response to Mr. Levy’s Motion to Restrict, as she understood that these

  exhibits were part of a filing for which Mr. Levy had already filed a motion to restrict. See

  [Doc. 111] (responding to [Docs. 106, 107]).1 However, to the extent this request should

  have been in a separate, second motion to restrict rather than in a response to Mr. Levy’s

  motion, Ms. Shuster respectfully submits that this should not result in a complete barrier

  to relief, particularly where Ms. Shuster’s request was timely asserted and filed prior to the

  applicable deadline to file her own motion to restrict. See [Doc. 111 at 1-2, filed Apr. 8,

  2024] (requesting restriction of certain exhibits filed Apr. 3, 2024).2


  1 In particular, Ms. Shuster sought protection and to maintain the Level 1 restriction on

  Exhibits 1-5, 7-8, 15, and 17-49 to Mr. Levy’s Motion to Compel [Docs. 107-3, -4, -5, -6, -
  7, -9, -10, -17, -19, -20, -21, -22, -23, -24, -25, -26, -27, -28, -29, -30, -31, -32, -33, -34, -
  35, -36, -37, -38, -39, -40, -41, -42, -43, -44, -45, -46, -47, -48, -49, -50, -51].
  2 In her Response, Ms. Shuster acknowledged that certain documents “should be made

  available to the public” and, thus, does not seek a stay or reconsideration as to the

                                                  2
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         For these reasons, as well as the substantive reasoning in [Doc. 111], Ms. Shuster

  respectfully requests that this Court reconsider and, in the interim, stay its ruling to lift the

  Level 1 restriction on [Docs. 107-3 to -7, -9 to -10, -17, -19 to -51] only.3


  Dated: July 29, 2024

                                                      Respectfully submitted,


                                                       s/ Kimberly M. Hult
                                                      Kimberly M. Hult
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  following: “Exhibit 6 [Doc. 107-8], Exhibits 9 through 14 [Docs. 107-11 to -16], and Exhibit
  16 [Doc. 107-18].” [Doc. 111 at 2.]
  3 Given this Court’s rulings since the original filing of the Response and Ms. Shuster’s

  request to maintain Level 1 restriction of the designated exhibits, Ms. Shuster would
  welcome the opportunity to submit any additional briefing that would be helpful to the
  Court and/or a similar opportunity, as provided in the Omnibus Order, see [Doc. 156 at
  11-12], to confer with opposing counsel about potential redactions to exhibits for which
  some protection is likely to be found warranted before highly personal medical and
  similar information is released publicly.

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